Case 1:22-cv-02940-DLF Documenté6 Filed 11/03/22 Page 1of 2
THE LAW OFFICE OF

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October 27, 202?

Ms. Angela D. Caesar, Clerk of the Court

United States District Court for the District of Columbia
333 Constitution Avenue, N.W.

Washington, D.C. 20001

Via electronic filing & hand delivery

Re: = Nieman et al. v. Islamic Republic of Iran
Civil Action No. 1:22-cv-02940
Request for Service of Process on Defendant Islamic Republic of Iran Pursuant to
28 U.S.C. § 1608(a)(3)

Dear Ms. Caesar:

~ In connection with the above-captioned case, and pursuant to 28 U.S.C. § 1608(e), ] am
writing to request service by the Clerk of the Court of the Complaint, Summons, and Notice of
Suit in this case, pursuant to 28 U.S.C. § 1608(a)(3), on defendant the Islamic Republic of Iran.

I am enclosing a copy of the Affidavit Requesting Foreign Mailing.

For purposes of service, the above-named defendant is considered the “foreign state” of
the Islamic Republic of lran under 28 U.S.C. §1608(a).

This case was brought under 28 U.S.C. § 1605A ayainst the defendant for its material
support of terrorism-related IED and machine gun attacks against plaintiffs in Afghanistan.
Because this case is governed by the Foreign Sovereign Immunities Act, service of the Complaint,
Summons, and Notice of Suit must be made by attempting those methods listed in 28 U.S.C. §
1608(a)(1)-(4) in the order that they are listed in the statute. Service on Iran cannot be made
pursuant to subsections (a)(1) or (a)(2) of Section 1608 because Iran has not entered into any
special agreement regarding service with plaintiffs and because Iran is not a signatory to any
applicable international agreement regarding service.

Section 1608(a)(3) of the FSIA requires a copy of the Complaint, Summons, and Notice of
Suit to be sent, with translations of each into the official language of the foreign state, by any form
of mail requiring a signed reccipt, to be addressed and dispatched by the Clerk of the Court to the
head of the ministry of foreign affairs of the foreign state.

Please find enclosed the Complaint, Summons, Notice of Suit, with certified translations
into Farsi of cach. Please effect service through FedEx, using the enclosed preprinted FedEx
waybill, to send the copies to the defendant. Please send the package to the defendant at the

following address:
Case 1:22-cv-02940-DLF Document6 Filed 11/03/22 Page 2 of 2

Hossein Amir-Abdollahian, Minister of Foreign Affairs
Islamic Republic of Iran

Ministry of Foreign Affairs

Imam Khomeini Street

Imam Khomeini Square

Tehran, Iran 1136914811

Thank you for your assistance in this matter. Please do not hesitate to contact me with any
questions.

Sincerely,
Joshua M. Ambush

_ IMA/ke
- Enclosures

